Case 3:12-mj-02547-DEA                                       Document 141                                 Filed 09/23/13                               Page 1 of 2 PageID: 361



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Case 3:12-mj-02547-DEA                                Document 141              Filed 09/23/13                  Page 2 of 2 PageID: 362


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